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 8
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 9
10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                            SAN JOSE DIVISION

13
     UNITED STATES OF AMERICA,                        )   CASE NO. 15-CR-00226-BLF
14                                                    )
             Plaintiff,                               )   JOINT STIPULATION FOR EXCLUSION OF
15                                                    )   TIME FROM JULY 14, 2015, TO JULY 21, 2015,
        v.                                            )   [PROPOSED] ORDER TO EXCLUDE TIME FROM
16                                                    )   JULY 14, 2015, TO JULY 21, 2015
     DOUGLAS STORMS YORK,                             )
17                                                    )
             Defendant.                               )
18                                                    )

19

20                                            JOINT STIPULATION
21           On July 14, 2015, the parties appeared before the Honorable Beth L. Freeman for a status
22 conference on the superseding indictment in this matter. At the hearing, defense counsel informed the

23 Court that additional time is needed to evaluate issues relating to the defendant’s case, specifically

24 regarding the superseding count. Therefore, the matter was continued until July 21, 2015 at 9:00 a.m. for

25 further status conference.

26           The parties hereby stipulate that the time between July 14, 2015, and July 21, 2015, at 9:00 a.m.,
27 should be excluded from the calculation of time within which the trial in this case must commence

28 pursuant to the Speedy Trial Act, in order to allow each counsel sufficient time to effectively prepare,

     JOINT STIPULATION FOR EXCLUSION OF TIME AND [PROPOSED] ORDER TO EXCLUDE TIME
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30                                                1
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 1 taking into account the exercise of due diligence. Furthermore, the parties stipulate that the ends of

 2 justice served by granting the request outweigh the best interest of the public and the defendant in a

 3 speedy trial.

 4 DATED: July 15, 2015                                          Respectfully submitted,

 5                                                               MELINDA HAAG
                                                                 United States Attorney
 6

 7                                                               /s/
                                                                 BRIANNA L. PENNA
 8                                                               Special Assistant United States Attorney

 9
10 DATED: July 15, 2015                                          /s/
                                                                 GRAHAM ARCHER
11                                                               Attorney for the Defendant

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13
                                          [PROPOSED] ORDER
14
            Pursuant to the parties’ motion, the Court HEREBY ORDERS that the time between July 14,
15
     2015, and July 21, 2015 be excluded under the Speedy Trial Act, 18 U.S.C. § 3161. The Court finds,
16
     pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), that the failure to grant the requested continuance
17
     would deny counsel the reasonable time necessary for effective preparation, taking into account the
18
     exercise of due diligence.
19
            Furthermore, the Court finds that the ends of justice served by granting the requested
20
     continuance outweigh the best interest of the public and the defendant in a speedy trial. The Court
21
     therefore concludes that this exclusion of time should be made under 18 U.S.C. §§ 3161(h)(7)(A) and
22
     (B)(iv).
23
            IT IS SO ORDERED.
24

25

26 DATED:_________________                                ____________________________________
27                                                        HON. BETH L. FREEMAN
                                                          United States District Judge
28

     JOINT STIPULATION FOR EXCLUSION OF TIME AND [PROPOSED] ORDER TO EXCLUDE TIME
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